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 6   Attorneys for Defendants
     W.K.S. RESTAURANT CORP., and EL POLLO
 7   LOCO HOLDINGS, INC.

 8                                UNITED STATES DISTRICT COURT

 9                             NORTHERN DISTRICT OF CALIFORNIA

10

11   JAMES WEST,                                Case No: 24-cv-01840-HSG

12                          Plaintiff,
                                                ORDER RE STIPULATION TO
13           v.                                 CONTINUE INITIAL CASE
                                                MANAGEMENT CONFERENCE
14   SUNNYVALE/SANTA CLARA EL                   (as modified)
     POLLO LOCO; WKS RESTAURANT                 Date:         July 2, 2024
15   GROUP; EL POLLO LOCO HOLDINGS              Time:         2:00 p.m.
     INC; DOES 1-30,                            Courtroom:    2 (4th Floor)
16                                              Judge:        Haywood S. Gilliam, Jr.
                            Defendants.
17
                                                Complaint Filed: March 25, 2024
18                                              Trial Date:      None

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                     ORDER RE STIPULATION TO CONTINUE INITIAL CASE MANAGEMENT CONFERENCE
     FP 51031423.1
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 1           On June 24, 2024, Plaintiff JAMES WEST (“Plaintiff”), in pro se, and Defendants

 2   W.K.S. RESTAURANT CORP., and EL POLLO LOCO HOLDINGS, INC. (“Defendants”)

 3   (collectively, the “Parties”) filed a stipulation for an Order granting a continuance to the Initial

 4   Case Management Conference scheduled for July 2, 2024 at 2:00 p.m.

 5           Having read and considered the stipulation, and good cause appearing therefore, IT IS

 6   HEREBY ORDERED THAT:

 7           1.       The Parties’ Stipulation to Continue the Initial Case Management Conference is

 8   GRANTED.

 9           2.       The Initial Case Management Conference shall be continued to 8/6/2024 at

10   2:00 p.m. The Initial Case Management Conference will be held telephonically. The dial-in

11   information and instructions remain the same as previously provided in docket no. 23.

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13           IT IS SO ORDERED.

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16   DATE: 6/24/2024                           By:
17                                                   HONORABLE HAWWOOD S. GILLIAM, JR.
                                                     UNITED STATES DISTRICT COURT
18                                                   DISTRICT JUDGE

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                     ORDER RE STIPULATION TO CONTINUE INITIAL CASE MANAGEMENT CONFERENCE
     FP 51031423.1
